           Case 2:20-cr-00087-TOR       ECF No. 22   filed 09/23/20   PageID.39 Page 1 of 2




 1
 2                                                                                  FILED IN THE
                                                                                U.S. DISTRICT COURT
 3                                                                        EASTERN DISTRICT OF WASHINGTON



 4                                                                         Sep 23, 2020
                                                                               SEAN F. MCAVOY, CLERK
 5
                             UNITED STATES DISTRICT COURT
 6
                           EASTERN DISTRICT OF WASHINGTON
 7
 8
      UNITED STATES OF AMERICA,                          No. 2:20-CR-00087-TOR-1
 9
10                         Plaintiff,                    ORDER GRANTING
                                                         DEFENDANT’S MOTION TO
11                          v.                           MODIFY RELEASE CONDITIONS
12
      KEAUVE D. RUFF,                                    MOTION GRANTED
13
                                                           (ECF No. 21)
14                         Defendant.
15
              Before the Court is Defendant’s Motion to Modify Conditions of Release,
16
     ECF No. 21. Defendant recites in his motion that neither the United States nor
17
     U.S. Probation oppose this request.
18
              Specifically, Defendant is requesting that he no longer be subject to a curfew
19
     and the United States Probation Office have the discretion to change the form of
20
     electronic monitoring as needed to comport with his work schedule.
21
              The Court finding good cause, IT IS ORDERED Defendant’s Motion, ECF
22
     No. 21, is GRANTED. Special Condition #28 is modified as follows: Defendant
23
     is no longer subject to a curfew. The United States Probation Office may authorize
24
     a change in electronic monitoring options as it deems appropriate.
25
              All other terms and conditions of pretrial release not inconsistent herewith
26
     ///
27
     ///
28



     ORDER - 1
       Case 2:20-cr-00087-TOR      ECF No. 22   filed 09/23/20   PageID.40 Page 2 of 2




 1   shall remain in full force and effect.
 2         IT IS SO ORDERED.
 3         DATED September 23, 2020.
 4
 5                                _____________________________________
                                            JOHN T. RODGERS
 6                                 UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
